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             IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR
                               MIAMI DADE COUNTY, FLORIDA

                                    GENERAL JURISDICTION DIVISION

                                            CASE NO. 15-14904 CA 11

        SABRINA AMPARAN,

                Plaintiff,
        v.

        MIAMI DADE COUNTY and
        OFFICER PETE TAYLOR,

              Defendants.
        _________________________________________________________________/

                                        FIRST AMENDED COMPLAINT

                Plaintiff Sabrina Amparan sues Miami Dade County and Officer Pete Taylor and alleges

        as follows:

                                  JURISDICTIONAL STATEMENT AND PARTIES

                1.      This is an action for damages in excess of the jurisdictional limits of this Court

        exclusive of interest and costs pursuant to 42 U.S.C. §1983 and Florida common law.

                2.      Plaintiff Sabrina Amparan is a resident of Key Biscayne, Florida, where she lives

        with her three children. She is forty-six years old, self-employed and has no criminal record.

                3.      Defendant Miami Dade County (“County”) is a governmental entity of the State of

        Florida and is organized pursuant to the laws of Florida.

                4.      Defendant Pete Taylor is a police officer employed by Miami Dade County who at

        all times was acting under color of state law and color of his authority as a public official. At all

        times, Defendant Taylor was engaged in conduct that was the proximate cause of the violation of

        Plaintiff’s federally protected rights, as more particularized herein.

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           5.    Venue is proper in Miami Dade County because it is where the events complained

 of occurred.

           6.    All conditions precedent to the maintenance of this action have been performed or

 have occurred prior to its institution including those set forth in Florida Statute Chapter 768.



                                     STATEMENT OF FACTS

           7.    On Thursday, March 13, 2014, at approximately 10:15 a.m., Ms. Amparan went

 for a ride on her bicycle from her home on Key Biscayne.

           8.    As part of a regular exercise routine, Ms. Amparan would ride her bike east on the

 bike path from Key Biscayne toward the City of Miami.

           9.    Ms. Amparan was riding a standard, upright woman’s bicycle.

           10.   Ms. Amparan was extremely cautious when she rode her bike, particularly when

 riding on the causeway from Key Biscayne to Miami.

           11.   On this day, Ms. Amparan continued east and approached the William Powell

 Bridge.

           12.   As she reached near the top of the bridge, Miami Dade Police Officer Pete Taylor

 drove along side where Ms. Amparan was riding her bike.

           13.   Defendant Taylor was on duty and driving a marked Miami Dade police car.

           14.   Officer Taylor commanded Ms. Amparan to stop.

           15.   Ms. Amparan complied and stopped.

           16.   Officer Taylor got out of his car and approached Ms. Amparan.

           17.   Officer Taylor began to shout at Ms. Amparan and told her that she was riding her

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 bike in violation of county law.

        18.     Ms. Amparan said she did not understand, repeatedly.

        19.     Ms. Amparan was straddling her bike while Taylor shouted at her.

        20.     Officer Taylor then decided to arrest Ms. Amparan.

        21.     Officer Taylor grabbed and pulled at Ms. Amparan to handcuff her.

        22.     While Taylor was exercising physical control over Ms. Amparan to take her into

 custody, Ms. Amparan fell to the ground.

        23.     Officer Taylor then pulled out his taser.

        24.     Ms. Amparan did not physically resist or oppose Officer Taylor.

        25.     While Ms. Amparan was on the ground and still tangled onto her bike, Officer

 Taylor deployed his taser and shot it at her.

        26.     Ms. Amparan was struck in the face and breast by the taser barbs.

        27.     Officer Taylor arrested Ms. Amparan and took her to the Miami Dade County Jail.

        28.     All charges against Ms. Amparan were dismissed.

        29.     As a direct and proximate cause of the actions of the Defendants, Ms. Amparan

 suffered injuries and damages.

                                                 COUNT I

                     (State Tort of Battery against Defendant Miami Dade County)

        30.     Plaintiff re-allege paragraphs one through twenty-nine and incorporates them by

 reference herein.

        31.     This is a cause of action for damages in excess of fifteen thousand dollars,

 exclusive of costs and attorney’s fees.

        32.     Defendant Miami Dade County is responsible for the conduct of the police officers

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 in its employ.

        33.       On March 13, 2014, Defendant Miami Dade County Police Officer Taylor while

 acting in the course and scope of his duties as a police officer did unreasonably batter, touch and

 strike Plaintiff Sabrina Amparan. Such unlawful contact occurred without the consent and against

 the will of Plaintiff Amparan.

        34.       As a result, Plaintiff suffered damages which include bodily injury; pain and

 suffering; inconvenience; physical discomfort; embarrassment; humiliation, and damage to her

 reputation, damages which are continuing to this day and are likely to continue in the future.

        35.       Pursuant to 768.28, Florida Statutes, Plaintiff notified Defendant Miami Dade

 County of this claim prior to filing this action and said claim was not resolved.

                                              COUNT II

                  (State Tort of False Arrest against Defendant Miami Dade County)

        36.       Plaintiff re-allege paragraphs one through twenty-nine and incorporates them by

 reference herein.

        37.       This is a cause of action for damages in excess of fifteen thousand dollars

 exclusive of costs and attorney’s fees.

        38.       Defendant Miami Dade County is responsible for the conduct of the police officers

 in its employ.

        39.       On March 13, 2014, Plaintiff was arrested and taken into custody by Miami Dade

 County police officers who were acting in the course and scope of their duties as police officers.

        40.       Miami Dade County police officers caused Ms. Amparan to be deprived of her

 freedom and liberty.

        41.       The arrest of Ms. Amparan was unlawful and unreasonable in that it was not based

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 upon lawfully issued process of a Court.

        42.     As a result, Plaintiff suffered damages which include bodily injury; pain and

 suffering; inconvenience; physical discomfort; embarrassment; humiliation, and damage to her

 reputation, damages which are continuing to this day and are likely to continue in the future.

        43.     Pursuant to 768.28, Florida Statutes, Plaintiff notified Defendant Miami Dade

 County of this claim prior to filing this action and said claim was not resolved.

                                             COUNT III

   (42 U.S.C. §1983 Fourth Amendment Violation against Defendant Taylor for Excessive Force)

        44. Plaintiff re-alleges paragraphs one through twenty-nine and incorporates them by

 reference herein,

        45. This cause of action is brought by Plaintiff pursuant to 42 U.S.C. §1983 against

 Miami-Dade County Officer Pete Taylor for the excessive use of force under color of law that

 deprived Ms. Amparan of her constitutionally protected right under the Fourth Amendment to the

 United States Constitution.

        46. Upon being seized Plaintiff offered no resistance. Nonetheless, without legal cause or

 justification, Defendant police Officer Taylor used force that was unreasonable, unnecessary, and

 excessive, causing Ms. Amparan to suffer damages which include bodily injury; pain and

 suffering; inconvenience; physical discomfort; embarrassment; humiliation, and damage to her

 reputation, damages which are continuing to this day and are likely to continue in the future.

        47. Defendant Taylor, while acting in his capacity as a police officer and under color of

 law, did use excessive and unreasonable force on Plaintiff Ms. Amparan.




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                                   DEMAND FOR JURY TRIAL

        Plaintiff Amparan hereby demands a jury trial as to all issues triable by a jury.

        WHEREFORE, Plaintiff demands judgment against Defendants Miami Dade County and

 Officer Pete Taylor for damages, costs, attorney’s fees pursuant to 42 U.S.C. §1988, and such

 other relief as the Court finds appropriate.

                                                Respectfully submitted,

                                                /s/ Ray Taseff
                                                _________________________
                                                Ray Taseff
                                                Florida Bar No. 352500

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                                                Attorneys for Plaintiff


                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 4, 2016, I electronically filed the foregoing

 document with the Clerk of the Court. I also certify that the foregoing document is being served

 electronically this day on all counsel of record on the attached Service List.

                                                               /s/ Ray Taseff
                                                               Ray Taseff

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                                     SERVICE LIST

                        AMPARAN V. MIAMI-DADE COUNTY,
                             Case No. 15-14904-CA 11

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